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 LISA A. FREY (NJ State Bar # 033731983)
 lisa@mertzel-law.com
 MERTZEL LAW PLLC
 1204 Broadway, 4th Floor
 New York, NY 10001
 Tel: 646-965-6900 x 5

 Attorneys for Defendant,
 DBEST PRODUCTS, INC.

                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEW JERSEY


  ECR4KIDS, L.P.,
                                           CIVIL ACTION NO. 23-2675-MCA-LDW
      Plaintiff,

        v.

  DBEST PRODUCTS, INC.

      Defendant.




          DEFENDANT’S BRIEF IN SUPPORT OF ITS MOTION TO DISMISS
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 I.     INTRODUCTION

        The First Amended Complaint (“FAC”) should be dismissed for multiple reasons. First,

 this Court lacks subject matter jurisdiction over Counts I-III, which allege, in each Count, that

 “there is a substantial and continuing, justiciable controversy between plaintiff and defendant as

 to defendant’s right to threaten or maintain suit for patent infringement.” See First Amended

 Complaint (“FAC”). Dkt. No. 4. This allegation is untrue because, as explained below,

 Defendant dbest products, Inc. (“dbest”) has given plaintiff, ECR4Kids, a broad covenant not to

 sue for infringement of that patent. That covenant divests the Court of subject matter jurisdiction

 over the patent dispute by eliminating any case or controversy over the patent at issue.

        Second, the FAC should be dismissed because this Court lacks personal jurisdiction over

 dbest, a non-resident, for the claims in this action, which do not arise from any contacts between

 dbest and New Jersey. Third, the Court should dismiss the FAC because plaintiff has instituted

 this action in the wrong venue. Fourth, sole state law claim (Count IV) should be dismissed

 because ECR4Kids has alleged only supplemental jurisdiction for this Court’s subject matter

 jurisdiction over that claim; diversity does not exist between the parties, which are both

 California business entities. Lastly, the FAC should be dismissed because the it fails to state a

 proper cause of action under either federal law, for Counts I – III or under state law, for Count

 IV.

 II.    FACTUAL BACKGROUND

        ECR4Kids filed this action on or about May 17, 2023, and filed a First Amended

 Complaint (“FAC”) on July 17, 2023. Dkt. No. 4. ECR4Kids is a California limited partnership

 allegedly having a place of business in New Jersey. Id., ¶ 1. dbest is a California corporation

 having its principal place of business at 7825 SW Somerset Boulevard, Paramount, California.

 Id., ¶ 2. dbest is the owner of U.S. Patent No. 11,338,835, entitled “High Load Capacity
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 Collapsible Carts” (“the ‘835 Patent”). Id., ¶ 4 and Exhibit A. ECF4Kids offers carts for sale on

 Amazon and elsewhere. Id., ¶¶ 5, 17, 23.

        The FAC contains three claims for declaratory judgment related to the ‘835 Patent and

 one threadbare claim for intentional interference with business relations, a claim that is

 nonspecific to any state law or statute. All claims arise from allegations that dbest sent takedown

 notices to Amazon alleging that ECR4Kids’ carts infringed the ‘835 Patent and requesting that

 Amazon remove ECR4Kids’ carts from the Amazon website. Id., ¶ 18. The FAC further alleges

 that Amazon complied with the takedown request and removed ECR4Kids’ carts from the

 Amazon website, preventing ECR4Kids from offering its carts for sale on Amazon. Id., ¶ 19.

 ECR4Kids alleges that dbest knew when it sent its takedown notices that the accused “carts did

 not and do not infringe the Patent and/or that the Patent was invalid.” Id. ¶ 20.

        dbest has provided ECR4Kids with the following unconditional covenant:

             dbest products, Inc. unconditionally and irrevocably covenants not to sue
             ECR4Kids, LP, for infringement of any claim of U.S. Patent No.
             11,338,835 (“the ‘835 Patent”) based on any product that ECR4Kids is
             currently making, using, selling, offering for sale, or importing, as of the
             date of this covenant, or any product that ECR4Kids made, used, sold,
             offered for sale, or imported at any time before the date of this covenant,
             including but not limited to the products identified in ECR4Kids’
             complaint in Civil Action No. 23-2675 in the District of New Jersey,
             bearing Amazon ASIN Nos. B006XQ7FGM, B01MRD19DQ, and
             B007CDOXO2.

 Declaration of Ehab M. Samuel in Support of Defendant’s Motion to Dismiss (“Samuel Decl.),

 ¶3 and Ex. A.

 III.   LEGAL STANDARDS

        A.       Rule 12(b)(1) Standard

        The Court can adjudicate a dispute only if it has subject matter jurisdiction to hear the

 asserted claims. Bender v. Williamsport Area Sch. Dist., 475 U.S. 534, 541 (1986). “Rule



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 12(b)(1) governs jurisdictional challenges to a complaint.” Otto v. Wells Fargo Bank, N.A., No.

 15-8240, 2016 U.S. Dist. LEXIS 92711, 2016 WL 8677313, at *2 (D.N.J. July 15, 2016). “When

 a motion under Rule 12 is based on more than one ground, the court should consider the 12(b)(1)

 challenge first because if it must dismiss the complaint for lack of subject matter jurisdiction, all

 other defenses and objections become moot.” Dickerson v. Bank of Am., N.A., No. 12-3922, 2013

 U.S. Dist. LEXIS 37639, 2013 WL 1163483, at *1 (D.N.J. Mar. 19, 2013) (quoting In re

 Corestates Trust Fee Litig., 837 F. Supp. 104, 105 (E.D. Pa. 1993)).

        B.      Rule 12(b)(2) standard

        A plaintiff bears “the burden of demonstrating facts that establish[] personal jurisdiction.”

 Fatouros v. Lambrakis, 627 F. App’x 84, 86-87 (3d Cir. 2015). A court “must accept all of the

 plaintiff’s allegations as true and construe disputed facts in favor of the plaintiff.” Pinker v.

 Roche Holdings, Ltd., 292 F.3d 361, 368 (3d Cir. 2002) (quoting Carteret Sav. Bank, F.A. v.

 Shushan, 954 F.2d 141, 142 n.1 (3d Cir. 1992)). Where, however, a plaintiff fails to allege

 jurisdictional facts to support personal jurisdiction, as plaintiff has failed to do here, dismissal

 pursuant to Fed. R. Civ. P. 12(b)(2) is proper. Fatouros, 627 F. App’x at 87.

        C.      Rule 12(b)(3) standard

        “Federal Civil Rule of Procedure 12(b)(3) permits a court to dismiss a matter that is filed

 in an improper venue.” Wilson v. JPMorgan Chase, Civ. A. No. 18-13789, 2020 U.S. Dist.

 LEXIS 103695, at *3 (D.N.J. June 15, 2020). “[W]hen confronted with a motion to dismiss for

 improper venue, the [c]ourt may consider both the complaint and evidence outside the

 complaint.” Boston Sci. Corp. v. Cook Grp., Inc., 269 F. Supp. 3d 229, 234 (D. Del. 2017) (citing

 14D Wright & Miller, Federal Practice & Procedure § 3826 (4th ed. 2017)). “[T]he court accepts

 the allegations in the complaint as true unless they are contradicted by the defendant’s

 affidavits.” Adams, Nash & Haskell, Inc. v. United States, Civ. A. No. 19-3529, 2020 U.S. Dist.


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 LEXIS 47471, at *3 (D.N.J. Mar. 19, 2020) (citing Bockman v. First Am. Mktg. Corp., 459 F.

 App’x 157, 158 n.1 (3d Cir. 2012)).

        D.      Rule 12(b)(6) standard

        In deciding a motion to dismiss under Federal Rule of Civil Procedure 12(b)(6), a district

 court is “required to accept as true all factual allegations in the complaint and draw all inferences

 in the facts alleged in the light most favorable to the [plaintiff].” Phillips v. County of Allegheny,

 515 F.3d 224, 228 (3rd Cir. 2008). But the plaintiff’s “obligation to provide the ‘grounds’ of his

 ‘entitle[ment] to relief’ requires more than labels and conclusions, and a formulaic recitation of

 the elements of a cause of action.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). A

 court is “not bound to accept as true a legal conclusion couched as a factual allegation.” Papasan

 v. Allain, 478 U.S. 265, 286 (1986). Instead, assuming the factual allegations in a complaint are

 true, those “[f]actual allegations must be enough to raise a right to relief above the speculative

 level.” Twombly, 550 U.S. at 555.

 IV.    THE COURT LACKS SUBJECT MATTER JURISDICTION OF THIS ACTION

        A.      This Court Lacks Subject Matter Jurisdiction Over the Counts for
                Declaratory Judgment Because dbest Has Covenanted Not to Sue ECR4Kids
                for Infringement of the ‘835 Patent, Eliminating Any Case or Controversy

        The FAC should be dismissed in its entirety because the Court lacks subject matter

 jurisdiction over the claims, and pendent jurisdiction over the remaining state law claim serves

 judicial economy. Federal courts “have an independent obligation to determine whether subject-

 matter jurisdiction exists, even in the absence of a challenge from any party.” Arbaugh v. Y & H

 Corp., 546 U.S. 500, 514 (2016). Subject matter jurisdiction exists only when either diversity of

 citizenship or a federal question is sufficiently pleaded. Jayme v. MCI Corp., 328 F. App’x 768,

 770-71 (3d Cir. 2008). Here, the complaint alleges federal question subject matter jurisdiction

 over Counts I-III for declaratory judgment under 28 U.S.C. § 1338(a) because these counts arise


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  under the patent laws of the United States and under the Federal Declaratory Judgments Act.

  Dkt. No. 4, ¶ 3. Even where, however, a complaint alleges a federal question, there can be no

  subject matter jurisdiction where there is no actual controversy between the parties. Already,

  LLC v. Nike, Inc., 568 U.S. 85, 90-91 (2013) (stating that the Court has “repeatedly held that an

  ‘actual controversy’ must exist not only ‘at the time the complaint is filed,’ but through ‘all

  stages’ of the litigation.”) (citations omitted and emphasis added). Accordingly, a “case becomes

  moot -- and therefore no longer a ‘Case’ or ‘Controversy’ for purposes of Article III -- ‘when the

  issues presented are no longer ‘live’ or the parties lack a legally cognizable interest in the

  outcome.’” Id. at 91 (affirming Second Circuit’s decision in a trademark case that a covenant not

  to sue for past and future sales of existing products and colorable imitations left no justiciable

  controversy).

          In the patent context, the Federal Circuit has repeatedly recognized that a covenant not to

  sue will divest a court of jurisdiction over a declaratory judgment claim of infringement or

  invalidity when it extinguishes any real controversy between the parties. See, Amana

  Refrigeration, Inc., Inc. v. Quadlux, Inc., 172 F.3d 852, 855 (Fed. Cir. 1999) (“[A] covenant not

  to sue for any infringing acts involving patents involving products ‘made, sold, or used’ on or

  before the filing date is sufficient to divest a trial court of jurisdiction over a declaratory

  judgment action.”); Dow Jones & Co. v. Ablaise Ltd., 606 F.3d 1338, 1346 (Fed. Cir. 2010) (a

  covenant not to sue for patent infringement divests the trial court of subject matter jurisdiction

  over claims that the patent is invalid, because the covenant eliminates any case or controversy

  between the parties).

          Here, dbest has given ECR4Kids the following unconditional covenant:

              dbest products, Inc. unconditionally and irrevocably covenants not to sue
              ECR4Kids, LP, for infringement of any claim of U.S. Patent No.



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              11,338,835 (“the ‘835 Patent”) based on any product that ECR4Kids is
              currently making, using, selling, offering for sale, or importing, as of the
              date of this covenant, or any product that ECR4Kids made, used, sold,
              offered for sale, or imported at any time before the date of this covenant,
              including but not limited to the products identified in ECR4Kids’
              complaint in Civil Action No. 23-2675 in the District of New Jersey,
              bearing Amazon ASIN Nos. B006XQ7FGM, B01MRD19DQ, and
              B007CDOXO2.

  Samuel Decl., ¶3 and Ex. A. Here, the first three Counts in the FAC allege that “there is a

  substantial justiciable controversy between plaintiff and defendant as to defendant’s right to

  threaten or maintain suit for patent infringement.” FAC ¶¶9, 14, 21. This covenant that dbest

  provided to ECR4Kids, however, eliminates any case or controversy between the parties “as to

  defendants right to threaten or maintain suit for patent infringement,” and therefore the Court

  lacks subject matter jurisdiction over these claims. See Janssen Pharmaceutica, N.V. v. Apotex,

  540 F.3d 1353, 1363 Fed. Cir. 2008) (affirming district court’s dismissal for lack of case or

  controversy because patentee’s covenant not to sue protected declaratory judgment plaintiff from

  suit based on its generic version of a patented pharmaceutical product).

         A trial court also has significant discretion in determining whether to exercise declaratory

  judgment jurisdiction. MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118, 136 (2007); Matthews

  Int’l Corp. v. Biosafe Eng’g., LLC, 645 F.3d 1322, 1328 n.3 (Fed. Cir. 2012). Given the lack of

  a genuine controversy here and the additional lack of personal jurisdiction and improper venue,

  even if a case or controversy still existed, the Court should decline to exercise jurisdiction over

  Counts 1-3 and dismiss them with prejudice.

         B.      Because the Court Lacks Subject Matter Jurisdiction For Counts I-III, It
                 Should Also Decline to Exercise Supplemental Jurisdiction for the State-Law
                 Claim of Count IV

         The FAC alleges only supplemental jurisdiction over Count IV, a barebones claim for

  interference with business relations that neither tracks the elements for California nor New



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  Jersey state law. Dkt. No. 4, ¶ 3. Supplemental jurisdiction allows federal courts to hear state law

  claims “when they are so related to claims in the action within such original jurisdiction that they

  form part of the same case or controversy.” Wisconsin Dep’t. of Corr. v. Schacht, 524 U.S. 381,

  387 (1998). Supplemental jurisdiction, however, is discretionary. “Where the federal claims are

  dismissed at an early stage in the litigation, courts generally decline to exercise supplemental

  jurisdiction over state claims.” Mattern v. City of Sea Isle, 131 F. Supp. 3d 305, 320 (D.N.J.

  2015); Strategic Envtl. Partners, LLC v. Bucco, 184 F. Supp. 3d 108, 134 (D.N.J. 2016); see also

  Charles Alan Wright & Arthur R. Miller, Federal Practice and Procedure, § 3567.3 (3d ed.) (“As

  a general matter, a court will decline supplemental jurisdiction if the underlying [federal

  question] claims are dismissed before trial”).

         Here, if the declaratory judgment act claims are dismissed for lack of case or controversy,

  judicial economy favors dismissing the stateless state-law claim. That claim is based entirely on

  allegations that dbest, a California corporation based in California, sent takedown notices to

  Amazon, causing the California partnership to lose sales. Fairness to dbest also favors dismissing

  the state-law claim, which has no connection to New Jersey other than ECR4Kids’ allegedly

  having a place of business in New Jersey as of the filing of the action. New Jersey has no interest

  in resolving a dispute between two California entities that arose outside of New Jersey.

         ECR4Kids has not invoked diversity jurisdiction and it does not exist for this action.

  Federal courts may invoke diversity jurisdiction over civil actions “where the amount in

  controversy exceeds $75,000 and is between citizens of different states, between citizens of a

  state and citizens of a foreign state, or between a foreign state and citizens of a state.” Jackson v.

  Delaware River & Bay Auth., 224 F. Supp. 2d 834, 841 (D.N.J. 2002) (citing 28 U.S.C. § 1332).

  For a district court to possess diversity jurisdiction over the parties, “the parties must be




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  completely diverse, meaning that no plaintiff can be a citizen of the same state as any of the

  defendants.” Auto-Owners Ins. Co. v. Stevens & Ricci Inc., 835 F.3d 388, 394 (3d Cir. 2016)

  (internal citations omitted). The FAC does not allege an amount in controversy but alleges that

  dbest is a California corporation with its principal place of business in California and that

  ECR4Kids is a California limited partnership. Thus, the parties are citizens of the same state,

  California, so diversity is not a ground for subject matter jurisdiction.

  V.     THIS COURT LACKS PERSONAL JURISDICTION OVER DBEST BECAUSE
         THE COMPLAINT ALLEGES NO CONTACTS BY DBEST—A CORPORATION
         INCORPORATED AND BASED IN CALIFORNIA—WITH NEW JERSEY

         The FAC does not allege any grounds for personal jurisdiction over dbest. It recognizes

  that dbest is a California corporation with its principal place of business in California. Dkt. No.

  4, ¶ 2. Federal Circuit law applies to personal jurisdiction over claims seeking declaratory

  judgments of non-infringement and invalidity. Maxchief Invs Ltd. v. Wok & Pan, Ind., Inc., 909

  F.3d 1134, 1137 (Fed. Cir. 2018). Federal Circuit law also applies to personal jurisdiction over

  state law claims where the “resolution of the patent infringement issue” would be a “significant

  factor” in resolving those state law claims.” Id.

         A court has personal jurisdiction over a nonresident defendant if the forum state’s long-

  arm statute permits service of process and asserting personal jurisdiction comports with due

  process. See, e.g., New World Int’l, Inc. v. Ford Global Techs., LLC, 859 F.3d 1032, 1157 (Fed.

  Cir. 2017) (affirming district court’s dismissal of action for lack of personal jurisdiction). Due

  process requires that a defendant have sufficient “minimum contacts” with the forum state such

  that the suit not offend “traditional notions of fair play and substantial justice.” International

  Shoe Co., v. Washington, 326 U.S. 310, 316 (1945)). The minimum contacts test has two related

  prongs. First, the defendant must have purposefully directed its conduct at the forum state.

  Goodyear Dunlop Tires Operations, S.A. v. Brown, 564 U.S. 915, 924 (2011). Second, the claim


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  must “arise out of or relate” to the defendant’s contacts with the forum. Helicopteros Nacionales

  de Columbia, S.A. v. Hall, 466 U.S. 408, 414 (1984). A claim for a declaration that a patent is

  invalid, not infringed, or unenforceable arises out of the patentee’s contacts with the forum state

  only if those contacts “relate in some material way to the enforcement or the defense of the

  patent.” Avocent Huntsville Corp. v. Aten Int’l Co., 552 F.3d 1324, 1336 (Fed. Cir. 2008). For a

  declaratory judgment action, minimum contacts require some enforcement activity in the forum

  state by the patentee. Maxchief, 909 F.3d at 1138. It is not enough that enforcement activities

  outside the forum state might have effects in the forum state. Id.

           The FAC does not allege that ECR4Kids’ claims arise out of any contacts between dbest

  and New Jersey. Rather, the FAC alleges that dbest sent a takedown notice to Amazon alleging

  that Plaintiff’s carts and those of other competitors infringed the ‘835 Patent, which caused

  Amazon to remove Plaintiff’s and others’ carts from the Amazon website. Dkt. 4, ¶¶ 18, 19. As

  such, the FAC does not allege any acts by dbest either in New Jersey or directed at New Jersey.

  Therefore, there is no basis for the Court to assert personal jurisdiction over dbest for Counts

  I-III.

           For the same reason, this Court lacks personal jurisdiction over dbest for Count IV, for

  interference with business relations, which is based on the same allegations and an additional

  allegation that, as a result of the allegedly improper takedown notices to Amazon, ECR4Kids has

  lost sales and incurred other substantial damages. Dkt. No. 4, ¶¶ 22-24. No contacts between

  dbest and New Jersey have been alleged. The FAC does not even allege that ECR4Kids, a

  California partnership, had the place of business in New Jersey alleged in the FAC at the time

  dbest sent the takedown notices to Amazon. Without allegations that the interference with

  business relations claim arose out of contacts between dbest and New Jersey or a New Jersey




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  resident, this Court lacks personal jurisdiction over dbest for Count IV. See Maxchief, 909 F.3d

  at 1140 (concluding district court in Tennessee lacked personal jurisdiction for tortious

  interference claim based on allegations that patentee sent an infringement notice alleging

  infringement by plaintiff’s Kansas customer). Indeed, Count IV also fails to comply with the

  pleading requirements of Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) and Ashcroft v.

  Iqbal, 556 U.S. 662 (2009). ECR4kids failed to: (i) identify whether its cause of action is based

  under California or New Jersey state law, and (ii) plead any facts to support each element of such

  cause of action. Therefore, the FAC should be dismissed for lack of personal jurisdiction over

  dbest.

  VI.      THIS DISTRICT IS AN IMPROPER VENUE FOR THIS ACTION BECAUSE
           DBEST DOES NOT RESIDE IN NEW JERSEY AND NO PART OF THE
           EVENTS GIVING RISE TO THE CLAIM OCCURRED IN NEW JERSEY

           The Court should dismiss the FAC because, even if plaintiff could show that the Court

  has personal jurisdiction over defendant and subject matter jurisdiction over the claims—which

  plaintiff cannot do—plaintiff has instituted this action in the wrong venue. When a defendant

  challenges venue, the plaintiff has the burden to establish venue. Metuchen Pharms LLC v.

  Empower Pharms, LLC. 2018 U.S. Dist. LEXIS 187105, 2018 WL 5669151 at *4-6 (D. N.J.

  2018). Federal Circuit law governs venue in patent cases, including declaratory judgment

  actions. Under either Federal Circuit or Third Circuit law, Plaintiff has not alleged facts

  supporting venue in this district. The FAC alleges that “[v]enue is proper in this judicial district

  pursuant to 28 U.S.C. §1391.” Dkt. No. 4, ¶ 3. Under 28 U.S.C. § 1391, a plaintiff may bring a

  case in: (1) a judicial district where any defendant resides, if all defendants reside in the same

  state, (2) a judicial district in which a substantial part of the events or omissions giving rise to the

  claim occurred, or a substantial part of property that is the subject of the action is situated, or (3)

  a judicial district in which any defendant is subject to personal jurisdiction at the time the action


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  is commenced, if there is no district in which the action may otherwise be brought. 28 U.S.C. §

  1391(a)(1)-(3). None of these subsections applies here.

         dbest resides in California, where it is also incorporated, and not in this judicial district.

  Nor is it subject to personal jurisdiction in this judicial district, as discussed above, because the

  FAC does not allege minimum contacts with New Jersey. Therefore, venue could only be proper

  in this district under Section 1391 if a substantial part of the events giving rise to the claim

  occurred in this district. The Third Circuit has explained that “[t]he test for determining venue is

  not the defendant’s ‘contacts’ with a particular district, but rather the location of those ‘events or

  omissions giving rise to the claim.’” Cottman Transm. Sys., Inc. v. Martino, 36 F.3d 291, 294 (3d

  Cir. 1994). “In assessing whether events or omissions giving rise to [a] claim[] are substantial, it

  is necessary to look at the nature of the dispute.” Id. at 295. In addition, the Third Circuit has

  observed that “the venue provision ‘favors the defendant in a venue dispute by requiring that the

  events or omissions supporting a claim be substantial . . . and that [s]ubstantiality is intended to

  preserve the elements of fairness so that a defendant is not haled into a remote district having no

  real relationship to the dispute[.]’” Bockman, 459 Fed. Appx. at 161 (quoting Cottman, 36 F.3d

  at 294-95). Events or omissions that have only “some tangential connection” with the dispute are

  not sufficient to support venue under 28 U.S.C. § 1391(b)(2). Cottman, 36 F.3d at 294.

         But here, no part of the alleged events giving rise to the claims in this action occurred in

  this district. ECR4Kids does not allege that dbest took any action in New Jersey or directed

  toward New Jersey, or even that ECR4Kids had a place of business in New Jersey when dbest

  sent the takedown notice to Amazon. It alleges that dbest sent the takedown notice to Amazon.

  And Amazon is headquartered in Seattle in the state of Washington. Therefore, based on the

  allegations in the FAC, venue in this district is improper.




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  VII.   THE COMPLAINT SHOULD BE DISMISSED UNDER RULE 12(b)(6) BECAUSE
         IT FAILS TO STATE A CLAIM ON WHICH RELIEF COULD BE GRANTED

         A.      Counts I-III Fail to State Claims for Declaratory Judgment Under the
                 Federal Pleading Standard

         A motion to dismiss under Fed. R. Civ. P. 12(b)(6) will be granted where, as here,

  plaintiff’s claim for patent invalidity merely recites sections of the patent laws with no

  supporting facts. Quality Edge, Inc. v. Rollex Corp., 709 Fed. Appx. 1000, 1009 (Fed. Cir. 2017)

  (claims for patent invalidity properly dismissed where pleading merely “recite[d] various

  sections of the patent statute with no supporting facts”). For example, Count II seeks a

  declaration that the ‘835 Patent is invalid for failure to comply with the Patent Laws, including

  35 U.S.C. §§ 102 and/or 103. Id., ¶11. It further alleges that “on information and belief, the

  Patent is invalid as the alleged inventive carts described and claimed therein were on sale or in

  public use by others before the filing date of the application.” Id., ¶ 12. But it does not allege the

  facts of the alleged sales or public uses by others. Thus, it is merely a legal conclusion, which the

  Court is not required to accept as true. See Papasan, 478 U.S. at 286 (a court is not bound to

  accept as true a legal conclusion couched as a factual allegation). Similarly, Count II alleges in

  the alternative that “any differences” between the prior art carts on sale or in public use “would

  have been obvious to a person skilled in the art.” Id., ¶ 13. But this is another legal conclusion

  and the FAC lacks any factual support for that legal conclusion.

         Count III seeks a declaration that the ‘835 Patent “is unenforceable for misuse in that

  Defendant has asserted its Patent against Plaintiff and others knowing that the patent has not

  been infringed and/or is invalid.” Count III further alleges the takedown notice and Amazon’s

  compliance, as discussed above. It fails to provide meaningful notice about ECR4Kids’ theories

  of non-infringement and invalidity, or about any basis to allege that dbest sent a takedown notice

  to Amazon in bad faith, knowing that the patent was not infringed or invalid.


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         Even if ECR4kids had alleged factual support for these allegations, they would not state a

  claim for unenforceability based on patent misuse. The doctrine of patent misuse is an

  affirmative defense against a suit for patent infringement, derived from the equitable defense of

  “unclean hands.” Dawson Chem. Co. v. Rohm & Haas Co., 448 U.S. 176, 186 n. 7 (1980); see

  also Windsurfing Int’l, Inc. v. AMF, Inc., 782 F.2d 995, 1001 (Fed. Cir. 1986). Under the patent

  misuse doctrine, holders of patents granted in furtherance of the public policy of promoting

  invention are denied enforcement of their patents if they misuse them in an attempt to extend the

  scope of their patent monopoly. Dawson Chem. Co., 448 U.S. at 180. The elements of patent

  misuse are that the patentee (1) impermissibly broadened the scope of a patent grant (2) by

  imposing conditions that derive their force from the patent (3) with an anticompetitive effect.

  Medpointe Healthcare, Inc. v. Morton Grove Pharms., No. 01-5190, 2003 U.S. Dist. LEXIS

  29074, *8 (D.N.J. March 24, 2003) (dismissing counterclaim for patent misuse that failed to

  allege conduct by the patentee broadening the scope of the patent). Count III and the FAC do

  not allege facts supporting either of those elements and therefore do not state a defense of patent

  misuse.

         B.      Counts IV Fails to State a Claim For Intentional Interference with Business
                 Relations Under New Jersey Law and the Federal Pleading Standard

         Even assuming, arguendo, this Court exercises jurisdiction over Count IV for intentional

  interference with business relations, the claim should also be dismissed for failure to state a

  claim. To establish a tortious interference with business relations claim under New Jersey law, a

  plaintiff must allege that: (1) it had some “reasonable expectation of economic advantage;” (2)

  the defendant’s actions were malicious such that the harm was inflicted intentionally and without

  justification or excuse;” (3) the interference “caused the loss of the prospective gain or there was

  a reasonable probability that the plaintiff would have obtained the anticipated economic benefit”;



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  and (4) “the injury caused the plaintiff damage.” Waldman Seafood, Inc. v. Mical Seafood, Inc.,

  No. 2:12-cv-02054-SDW-MCA, 2014 U.S. Dist. LEXIS 86143, 2014 WL 2887855, at *7 (D.N.J.

  June 24, 2014) (citing Printing Mart-Morristown v. Sharp Elecs. Corp., 116 N.J. 739, 751-52,

  563 A.2d 31 (1989)). Count IV seeks damages for an intentional tort. Such a claim requires

  specific allegations that defendant inflicted harm intentionally, and without justification or

  excuse.

            At bottom, the FAC is devoid of any factual allegations, let alone plausible allegations,

  that demonstrate bad faith on dbest’s part or that defendant’s actions were malicious such that

  the harm was inflicted intentionally and without justification or excuse. Therefore, Count IV

  fails to state a claim for interference with business relations, and thus, must be dismissed under

  Fed. R. Civ. P. 12(b)(6).

  VIII. CONCLUSION

            The FAC should be dismissed. The Court lacks subject matter jurisdiction because dbest

  has given ECR4Kids a broad covenant not to sue for infringement of that patent. That covenant

  divests the Court of subject matter jurisdiction over the counts that present a federal question, by

  eliminating any case or controversy. The remaining state law claim should be dismissed because

  there is no diversity between the parties, both of which are California business entities. The

  Court also lacks personal jurisdiction over dbest because ECR4Kids’ claims do not arise from

  any contacts between dbest and New Jersey. Venue in this district is improper for the same




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  reasons. The claims should also be dismissed for failure to state a claim. Accordingly, for the

  reasons set forth above, defendant respectfully requests that the FAC be dismissed in its entirety.



  Dated: October 25, 2023                       Respectfully submitted,

                                                /s/ Lisa A. Frey
                                                 Lisa A. Frey
                                                Attorneys for dbest products, Inc.




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